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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

  KEVIN N. BROWN                             )   CASE NO. 4:18-cv-789
                                             )
                       Plaintiff,            )   JUDGE BENITA Y. PEARSON
                                             )
  vs.                                        )   MOTION TO DISMISS OF
                                             )   DEFENDANT PAUL C. CONN
  JAMES C. EVANS, et al                      )
                                             )   CERTIFICATION OF
                       Defendants.           )   COMPLIANCE WITH UNITED
                                             )   STATES DISCTRICT COURT,
                                             )   NORTHERN DISTRICT OF OHIO,
                                             )   RULE 7.1

         Defendant Paul C. Conn moves this Honorable Court to dismiss pro se

 plaintiff’s complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil

 Procedure. Plaintiff Brown has failed to state a claim upon which relief can

 be granted.      Pro se plaintiff fails to allege any racial--or otherwise class-

 based      invidiousl y    discriminatory   animus--informing    defendant   Conn’s

 actions.      State prisoners are not a protected class for the purposes of

 §1985(3).      Plaintiff Brown’s pro se Complaint must therefore be dismissed.

 A memorandum in support is attached hereto and incorporated herein by

 reference.

                                     Respectfull y submitted,


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                                 Attorney for Defendant Paul C. Conn




                           MEMORANDUM IN SUPPORT


               I.    Introduction.

        Plaintiff Brown filed his pro se Complaint in this Court on April 9,

 2018. Pro se plaintiff names as defendants: the now-deceased former Judge

 James C. Evans; current Cuyahoga County Court of Common Pleas Judge and

 former Mahoning Count y prosecutor Dena [sic] Calabrese; and, attorney Paul

 C. Conn.      Defendant attorney Paul Conn agreed to waive service of the

 complaint on May 16, 2018. On June 11, 2018, pro se plaintiff filed attorney

 Conn’s waiver of service in this Court.

               II.   Plaintiff’s complaint.

        In his complaint, pro se plaintiff Kevin Brown provides his inmate

 number, #A443-261. (Page one (1) of plaintiff’s complaint). He also avers

 that he was sentenced under the State laws of Ohio to four (4) consecutive

 life terms and adjudicated as a sexual predator. (See Complaint, page three

 (3), generall y).   Pro se plaintiff claims subject matter jurisdiction in this

 Court pursuant to 42 USC §1985(b)[sic] (Page two (2) of plaintiff’s

 complaint).

        Pro se plaintiff’s complaint alleges trial attorney Conn, as his court-

 appointed counsel in the underl ying criminal matter, and Judge Evans, as the

 presiding judge engaged in a conspiracy:      “Defendants Evans and Conn on

 July 17, 2001 conspired together to deny plaintiff all lawful remedies which
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 both stated and federal law allow.” (Complaint at page 3).     Pro se plaintiff

 further alleges that “attorney Conn failed to object to a trial not lawfull y

 initiated.”   (Id). Plaintiff claims that the three defendants “…conspired

 together to imprison plaintiff for life for crimes not committed or charged by

 law in violation of 42 USC 1985(b)[sic], US Constitution Four, Fourteenth,

 and every federal and state right, dut y, or obligation.” (Id). For the reasons

 that follow, this Court lacks subject matter jurisdiction over plaintiff’s

 complaint, and attorney Conn is entitled to dismissal of pro se plaintiff’s

 complaint for failure to state a claim upon which relief can be granted.

               III.   Law and argument.

                      a. 12(b)(6) Standard of Review.

        Federal Rule of Civil Procedure 12(b)(6) allows a part y to move for

 dismissal of a complaint on the basis that it "fail[s] to state a claim upon

 which relief can be granted." The moving part y bears the burden of showing

 that the opposing part y has failed to adequatel y state a claim for relief.

 DirecTV, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir. 2007) (citing Carver v,

 Bunch, 946 F.2d 451, 454-55 (6th Cir. 1991)). The purpose of a motion to

 dismiss under Rule 12(b)(6) "is to allow a defendant to test whether, as a

 matter of law, the plaintiff is entitled to legal relief even if everything

 alleged in the complaint is true." Mayer v. Mylod, 988 F.2d 635, 638 (6th Cir.

 1993). In ruling on a 12(b)(6) motion, a court must "construe the complaint in

 the light most favorable to the plaintiff, accept its allegations as true, and

 draw all reasonable inferences in favor of the plaintiff." Handy-Clay v. City
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 of Memphis, 695 F.3d 531, 538 (6th Cir. 2012) (quoting Treesh, 487 F.3d at

 476).

         Nevertheless, to survive a motion to dismiss under Rule 12(b)(6), the

 complaint must contain "enough facts to state a claim to relief that is

 plausible on its face." Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 127

 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). Unless the facts alleged show that the

 plaintiff's claim crosses "the line from conceivable to plausible, [the]

 complaint must be dismissed." Id. Although this standard does not require

 "detailed   factual   allegations," it   does   require   more   than   "labels   and

 conclusions" or "a formulaic recitation of the elements of a cause of action."

 Id. at 555. "Rule 8 . . . does not unlock the doors of discovery for a plaintiff

 armed with nothing more than conclusions." Ashcroft v. Iqbal, 556 U.S. 662,

 678-79, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009). Legal conclusions "must

 be supported b y factual allegations" that give rise to an inference that the

 defendant is, in fact, liable for the misconduct alleged. Id. at 679.

                       b. Plaintiff fails to state a claim and 42 USC §1985 does
                          not provide subject matter jurisdiction.

         Plaintiff seeks to redress his seventeen year-old grievance with his

 criminal conviction and subsequent imprisonment b y invoking the subject

 matter jurisdiction of this Court via 42 USC §1985(b) [sic]. It must be noted

 that plaintiff Brown specificall y cites to subsection “(b)” of §1985 that he

 contends is applicable to his case. Of course, there is no section (b), as §1985

 is broken down into three numbered subsections; 1, 2, and 3.              From the

 allegations in the complaint, it is apparent that pro se plaintiff Brown seeks to
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 rel y on §1985(3). The other sections of §1985; (1). Preventing an officer from

 performing duties; and, (2). Obstructing Justice by intimidating a part y,

 witness or juror, have no application to the facts of this case have no bearing

 on the allegations in the complaint.

        Section 1985(3) of Title 42 of the United States Code provides in

 pertinent part that:


          If two or more persons in any State or Territory conspire … for the
          purpose of depriving, either directly or indirectly, any person or class of
          persons of the equal protection of the laws, or of equal privileges and
          immunities under the laws; … in any case of conspiracy set forth in this
          section, if one or more persons engaged therein do, or cause to be done,
          any act in furtherance of the object of such conspiracy, whereby another
          is injured in his person or property, or deprived of having and exercising
          any right or privilege of a citizen of the United States, the party so
          injured or deprived may have an action for the recovery of damages
          occasioned by such injury or deprivation, against any one or more of the
          conspirators.

        The United States Supreme Court has held that § 1985(3) applies onl y

 where there is "some racial, or perhaps otherwise class-based, invidiousl y

 discriminatory     animus      behind     the    conspirator's      action."    Griffin   v.

 Breckenridge, 403 U.S. 88, 102, 91 S. Ct. 1790, 1798, 29 L. Ed. 2d 338

 (1971). There is no allegation in the complaint that the actions of defendant

 Conn were the result of a class-based, invidiousl y discriminatory intent.

 Plaintiff has thus failed to state a claim upon which relief can be granted.

        The United States Court of Appeals for the Sixth Circuit affirmed a

 district court dismissal of defendant’s motion to dismiss upon similar facts in

 Rose v. Leaver, 35 Fed. Appx. 191, 2002 U.S. App. LEXIS 9621. Robert C.

 Rose, a pro se Ohio prisoner, appealed a district court judgment dismissing
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 his civil rights complaint filed pursuant to 42 U.S.C. §§ 1983, and 1985(3).

 Id. at 192. Seeking monetary relief, Rose sued Judge James R. Leaver, a state

 court domestic relations judge, his former attorney, and his former wife,

 contending that they conspired to violate his civil rights during his divorce

 proceedings. Id. at 192. Specificall y, Rose alleged that he was never served

 with the divorce petition and that the defendants conspired to deprive him of

 his personal property. Id.    Upon de novo review of a magistrate judge's

 report, the district court dismissed the complaint for failure to state a claim

 upon which relief may be granted. Id.

        Rose asserted that he established a conspiracy claim among th e

 defendants to deprive him of his propert y. Id.       Under § 1985(3), Rose

 essentiall y contended that he was being subjected to discrimination as he was

 an incarcerated individual. Id.   Because he was incarcerated, therefore, he

 argued that he established class-based discrimination. Id. at 193.          The

 appellate court found, however, that prisoners are not a protected class for the

 purposes of §1985(3). See Pryor v. Brennan, 914 F.2d 921, 923 (7th Cir.

 1990). The appellate court reasoned that because Rose failed to establish a

 racial or other class-based discriminatory animus, his §1985(3) claim was

 properl y dismissed. Id. (See also, Randolph v. Campbell, 25 Fed. Appx. 261,

 264, 2001 U.S. App. LEXIS 26494, *4-5. In order to establish a cause of

 action under §1985(3), a plaintiff must show that the named defendants

 were involved in misconduct that was motivated by "some racial, or perhaps

 otherwise class-based, invidiousl y discriminatory animus." Quoting, Bartell

 v. Lohiser, 215 F.3d 550, 559-60 (6th Cir. 2000), (quoting United Bhd. of
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 Carpenters & Joiners of Am., Local 610 v. Scott, 463 U.S. 825, 829, 77 L. Ed.

 2d 1049, 103 S. Ct. 3352 (1983)).

        The case of Kelsay v. Hamilton County Tenn., 2003 U.S. Dist. LEXIS

 26994, *1, 2003 WL 23721334, is also instructive inasmuch as it provides

 detailed anal ysis of a §1985(3) claim. In Kelsay, Plaintiff William O. Kelsay,

 Jr. ("Kelsay") contended that while he was in pretrial detention in the

 Hamilton Count y J ail in Chattanooga, Tennessee, he was assaulted and beaten

 in his jail cell by corrections officers employed by the Hamilton Count y

 Sheriff's Department. Id at 1.              Kelsay asserted federal civil rights claims

 under 42 U.S.C. §§1983 and 1985, in combination with a tort claim under

 Tennessee common law for assault and battery. He sought to recover

 compensatory and punitive damages. Id.

        The defendants moved for summary judgment which was granted as it relates to the

 §1985 claims. Id. The court first noted that in regard to the claim brought under 42 U.S.C.

 §1985, Kelsay did not specify the particular subsection of §1985 that he contends is

 applicable to his case.   Id. at 10. In this case, pro se plaintiff Brown cites to 1985(b)—of

 course, there is no section (b), as section 1985 is broken down into three numbered

 subsections; 1, 2, and 3. The Court inferred in Kelsay--as this Court should here--that Kelsay

 sought to rely on §1985(3).     Id.   The court reasoned that the §1985(3) claim must be

 dismissed as to all defendants because Kelsay did not allege that he has been subjected to

 class-based invidious discrimination. Id.

        In Kelsay, the court held that to prevail under 42 U.S.C. §1985(3), Kelsay was

 required to plead and be able to prove four essential elements: (1) a conspiracy between at

 least two persons; (2) the purpose or object of the conspiracy was to deprive Kelsay of the
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 equal protection of the laws, or of equal privileges and immunities under the laws; (3) an

 overt act committed by at least one of the conspirators in furtherance of the conspiracy; and

 (4) the defendant's conduct caused Kelsay to suffer personal injury, property damage, or a

 deprivation of any right or privilege of a citizen of the United States. Id. at 11, citing Griffin v.

 Breckenridge, 403 U.S. 88, 102-103, 91 S. Ct. 1790, 29 L. Ed. 2d 338 (1971); Vakilian v.

 Shaw, 335 F.3d 509, 518 (6th Cir. 2003); Collyer v. Darling, 98 F.3d 211, 233 (6th Cir.

 1996); Maki v. Laakko, 88 F.3d 361, 367 (6th Cir. 1996); Johnson v. Hills & Dales Gen.

 Hosp., 40 F.3d 837, 839 (6th Cir. 1994); Haverstick Enterprises v. Financial Federal Credit,

 32 F.3d 989, 993 (6th Cir. 1994).

         The appellate court, however, did not dismiss the §1985(3) claim on the ground that

 Kelsay was unable to prove the existence of a conspiracy between the defendants. Id. at 12.

 Instead, the court found it must dismiss the §1985(3) claim for a different reason. Id.

         The court reasoned that although §1985(3) applies to private conspiracies, it does not

 apply to all tortious interference with the rights of others. Griffin, 403 U.S. at 101. To make

 out a viable claim under §1985(3), Kelsay was required to prove there was some racial, or

 otherwise class-based, invidiously discriminatory animus behind the conspirators' action. Id.

 at 13, citing Bray v. Alexandria Clinic, 506 U.S. 263, 267-68, 113 S. Ct. 753, 122 L. Ed. 2d

 34 (1993); United States v. Brotherhood of Carpenters and Joiners v. Scott, 463 U.S. 825,

 103 S. Ct. 3352, 77 L. Ed. 2d 1049 (1983); Griffin, 403 U.S. at 101; Vakilian, 335 F.3d at

 519; Bartell v Lohiser, 215 F.3d 550, 559-60 (6th Cir. 2000); Collyer, 98 F.3d at 233; Maki,

 88 F.3d at 367; Haverstick, 32 F.3d at 994; Newell v. Brown, 981 F.2d 880, 886 (6th Cir.

 1992); Rice v. Ohio Dep't of Transp., 887 F.2d 716, 722 (6th Cir. 1989); Averitt v. Cloon, 796

 F.2d 195, 198 (6th Cir. 1986). Id. at 13. The court decided that Kelsay cannot prevail on a

 cause of action under 42 U.S.C. §1985(3) unless he can prove the conspiracy was motivated
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 by an intent to invidiously discriminate against Kelsay because he is a member of a protected

 class. Id. at 13; See also, Studen v. Beebe, 588 F.2d 560, 564 (6th Cir. 1978); Ohio Inns, Inc.

 v. Nye, 542 F.2d 673, 679 (6th Cir. 1976); Cameron v. Brock, 473 F.2d 608, 610 (6th Cir.

 1973); Miller v. City of Columbus, 920 F. Supp. 807, 821-22 (S.D. Ohio).

        The distinction between classes of persons protected pursuant to §1985(3) and those

 classes which are unprotected is rooted in traditional equal protection analysis under the Equal

 Protection Clause in the Fourteenth Amendment of the United States Constitution. Kelsay at

 14. The classes of persons protected by §1985(3) are the discrete and insular minorities that

 receive heightened constitutional protection under the Fourteenth Amendment's Equal

 Protection Clause because of their inherently personal characteristics. Id. The class-based,

 invidiously discriminatory animus required by §1985(3) must be based on race, ethnic origin,

 sex, religion, or political loyalty. Id. at 14-15, citing Haverstick, 32 F.3d at 994; Rice, 887

 F.2d at 722; Averitt, 796 F.2d at 198; National Communication v. Michigan Public Service,

 789 F.2d 370, 374 (6th Cir. 1986); Browder v. Tipton, 630 F.2d 1149, 1149-50 (6th Cir.

 1980); Clonlara, Inc. v. Runkel, 722 F. Supp. 1442, 1461 (E.D. Mich. 1989); see also Bartell,

 215 F.3d at 560.

        Kelsay did not contend that he was a member of any of these classes of persons

 entitled to protection under the Equal Protect Clause and §1985(3). Id. at 15. Kelsay did not

 allege that the defendants were motivated to conspire against him in violation of §1985(3)

 based on his race, ethnic origin, sex, religion, or political loyalty. Id. At most, Kelsay

 contends that the defendants conspired to assault him because (1) Kelsay had been arrested

 and was being detained in jail on a criminal charge of aggravated sexual exploitation of a

 minor; and (2) Kelsay had complained to jail authorities that he had received a threatening
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  note shoved under the door of his jail cell. Id. This is insufficient to plead and prove a claim

  under § 1985(3). Id.

          The Kelsay court held that prisoners and persons in jail in pretrial detention are not a

  class of persons entitled to constitutional protection under the suspect classification analysis

  applicable to the Equal Protection Clause of the Fourteenth Amendment. Id. at 15-16, citing

  Myles v. Michigan Dep't of Corrections, 198 F.3d 246 (table, 6th Cir. Dec. 11, 1992); Brown

  v. Campbell, 173 F.3d 854 (table, 6th Cir. March 17, 1999); Hampton v. Hobbs, 106 F.3d

  1281, 1286 (6th Cir. 1997); Newell, 981 F.2d at 886-87; Stuck v. Aikens, 760 F. Supp. 740,

  744 (N.D. Ind. 1991); Lowe v. Carter, 554 F. Supp. 831, 837 (E.D. Mich. 1982); Nakao v.

  Rushen, 542 F. Supp. 856 (N.D. Cal. 1982).

          Pro se plaintiff is a state prisoner serving four consecutive life sentences. In his

  complaint, he fails to allege any racial--or otherwise class-based invidiously discriminatory

  animus--behind defendant Conn’s actions. The foregoing clearly demonstrates that state

  prisoners are not a protected class for the purposes of §1985(3). Plaintiff Brown’s pro se

  Complaint must be dismissed.

                IV.    Motion to dismiss for failure to state a claim filed by Defendant
          Dena R. Calabrese.

          Defendant Calabrese filed her motion to dismiss on June 21, 2018 (Docket #8).

  Defendant Conn incorporates defendant Calabrese’s arguments in sections II A (Statute of

  Limitations), B (Iqbal/Twombly), and C (Rooker-Feldman doctrine), of her motion to dismiss

  in their entirety and as if fully re-written herein.

                  V.      Conclusion.

          Pro se plaintiff Brown has failed to state a claim upon which relief can be granted.

  Pro se plaintiff fails to allege any racial--or otherwise class-based invidiously discriminatory
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  animus--behind defendant Conn’s actions or inaction. State prisoners are not a protected class

  for the purposes of §1985(3). For all of the foregoing reasons, plaintiff Brown’s pro se

  Complaint must be dismissed.

                                       Respectfull y submitted,


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                              CERTIFICATE OF SERVICE

        I hereby certify that on the 22 n d day of June 2018, a cop y of the

  foregoing was filed electronicall y.   Notice of this filing will be sent to all

  parties by operation of the Court’s electronic filing s ystem.   It will also be

  sent to plaintiff via regular US mail at:

  Kevin N. Brown #A443-261 940
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                                         Robert S. Yallech (0075494)
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                                CERTIFICATION

        This case is yet to be assigned to the any Track. Counsel certifies that

  pursuant to Local Rule 7.1, this Brief complies with the page limitations for

  the Standard track.




                                 Robert S. Yallech (0075494)
                                 Attorney for Defendant Paul C. Conn
